Case 1:17-cr-00008-WJM Document 295 Filed 07/28/20 USDC Colorado Page 1 of 1
Appellate Case: 20-1039     Document: 010110383469         Date Filed: 07/28/2020      Page: 1
                                                                                      FILED
                                                                          United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                             Tenth Circuit

                              FOR THE TENTH CIRCUIT                               July 28, 2020
                          _________________________________
                                                                              Christopher M. Wolpert
                                                                                  Clerk of Court
  UNITED STATES OF AMERICA,

        Plaintiff - Appellee,

  v.                                                            No. 20-1039
                                                     (D.C. No. 1:17-CR-00008-WJM-1)
  GUY M. JEAN-PIERRE, a/k/a Marcelo                              (D. Colo.)
  Dominguez de Guerra,

        Defendant - Appellant.
                       _________________________________

                                       ORDER
                          _________________________________

        This matter is before the court on Appellant Jean Pierre’s Motion to Supplement

 Record on Appeal.

        Appellant requests that the record on appeal be supplemented with Government’s

 Trial Exhibits 10, 11, 47, 52, 53, 120, 122, 126, 127, 129, 131, 133, 134, 433, and 434.

        Upon consideration, the motion to supplement the record on appeal is granted.

        Within 7 days of the date of this order, Appellant shall file a supplement to the

 record appeal consisting of the exhibits identified in Appellant’s motion.

        Appellant’s opening brief remains due August 7, 2020.


                                               Entered for the Court
                                               CHRISTOPHER M. WOLPERT, Clerk


                                               By: Sunil N. Rao
                                                   Counsel to the Clerk
